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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
VS. Case No.: 22-cr-00115-JFH-5
WAIVER OF MINIMUM TIME TO TRIAL
Izabella Marie Boling,
Defendant.

I, Izabella Marie Boling, have been informed in open Court of the provisions of the Speedy Trial Act
of 1974 and Amendments thereto, specifically, that trial shall not commence less than thirty days from the date
on which the defendant first appears through counsel unless he/she consents in writing to the contrary.

I do hereby freely and voluntarily consent to trial of the above-styled case on a date prior to the

expiration of thirty days from the date on which I first appeared through counsel, to-wit: 1/5/2023.

Date: 1/6/2023 .

Izabella Marie Boling, Défendan

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Assistant United SE

Beth M. Deere, U.S. Magistrate Judge

Change Plea Magistrate Judge (8/2021)
